Case 2:05-Cv-02188-.]PI\/|-tmp Document 32 Filed 07/05/05 Pagelof4 Page|D 4

 

IN THE UNITED STATES DISTRICT cOURT il BY“* D‘c‘
FOR THE wEsTERN DISTRICT oF TENNESSEE
wESTERN DIVISION BSJUL "5 PH 33 |9
UNITED sTATEs oF AMERICA, %%§§§%M
f` `\5 f'\:'"r£;‘&

Plaintiff,
V. NO. 05-2188 Ml/P

BRYAN CONSTRUCTION COMPANY,
INC., et al.,

Defendants.

 

ORDER SETTING TRIAL AND PRETRIAL DATES

 

Pursuant to Local Rule 72.1(f), a Rule 16(b) Scheduling Order
was entered on June 16, 2005, by United States Magistrate Judge Tu
M. Pham. In accordance with the deadlines established in that
order, trial and pretrial dates are set as follows before the

District Court:

1. The jury trial in this matter, which is anticipated to
last twelve (12) days, is set to begin Monday, Auqust 14,
2006 at 9:30 a.m. in courtroom no. 4.

2. A pretrial conference is set for Mondav, Auqust 7, 2006
at 8:45 a.m.

3. The joint pretrial order and proposed jury instructions

and voir dire questions are due by no later than 4:30

p.m. on July 31l 2006.

Thls document entered on the docket shea In compllanca
wirh Rule 58 and/or 79(a) FRCP on 12 ' é'( 2,’;2

 

Case 2:05-Cv-02188-.]PI\/|-tmp Document 32 Filed 07/05/05 Page 2 of 4 Page|D 45

Absent good cause, the dates established by this order shall

not be extended or modified.

IT Is so oRDERED this C@ day of July, 2005.

@W@QQ

J N PHIPPS MCCALLA
I'I'ED S'I`ATES DISTRICT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 2:05-CV-02188 Was distributed by faX, mail, or direct printing on
July 6, 2005 to the parties listed.

 

Gary A. Vanasek

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Steve H. Smith
DUNBAR MONROE
1855 Lakeland Dr

Ste R-201

Jackson7 MS 39216

Joel E. Roberts

GRAY ROBINSON, P.A.
301 E. Pine Street

Ste. 1400

Orlando, FL 32802--306

Susan Buckingham Reilly

U.S. DEPARTN[ENT OF .TUSTICE
950 Pennsylvania Ave.7 N.W.

Housing and Civil Enforcement Section
Washington, DC 20530

Michael S. Maurer

United States Department of Justice Civil Rights Division
950 Pennsylvania Avenue NW

Washington, DC 20530

Theresa L. Kitay

COUGHLIN KITAY & EDELSTEIN, P.C.
4750 Lincoln Blvd.

Ste. 483

Marina del Rey7 CA 90292

Case 2:05-cv-O2188-.]P|\/|-tmp Document 32 Filed 07/05/05 Page 4 of 4 Page|D 47

Kevin Kijewski

U.S. DEPARTN[ENT OF .TUSTICE
950 Pennsylvania Ave.7 N. W.

Housing and Civil Enforcement Section
Washington, DC 20530

Jeffrey D. Keiner

GRAY ROBINSON, P.A.
301 E. Pine Street

Ste. 1400

Orlando, FL 32802--306

Thomas J. Keary

U.S. DEPARTN[ENT OF .TUSTICE

950 Pennsylvania Ave.7 NW

Housing & Civil Enforcement Section- G S
Washington, DC 20530

Harriett 1\/1. Halmon

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

